Case 22-60043 Document Filed in TXSB on 05/02/22 Page 1 of 1

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Debtor Name _ Prison Planet TV, LLC

United States Bankruptcy Court for the: Southern District of Texas

(State)

Case number (ifknowny: _22-60022

Official Form 202
Declaration Under Penalty of Perjury for Non-individual Debtors 12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

= Declaration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
another individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)
Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

Amended Schedule

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

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Other document that requires a declaration

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KS Lf;
Executed on 05/02/2022 A * Sl LITLE FZ pes
MM /OD/YYYY Signature of individual signing on behalf of debtor

W. Marc Schwartz

Printed name

Chief Restructuring Officer
Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors
